Case 7:20-cv-00587-RSB Document 65-2 Filed 12/03/21 Page 1 of 1 Pageid#: 1807




                             Timeline of Discovery Efforts

 Parties agreed to Mar 2023 trial date                         July 2, 2021
 Parties held Rule 26 conference                               July 23, 2021
 Parties Rule 26 report filed (ECF 55)                         Aug 13, 2021
 BAE & Fluor served Initial Disclosures                        Sep 13, 2021
 Parties filed Joint Amended Scheduling Order (ECF 57-1)       Sep 24, 2021
 Parties filed Joint ESI Protocol (ECF 59)                     Oct 4, 2021
 BAE & Fluor exchanged Hub e-mail custodians                   Oct 11, 2021
 Fluor served Interrogatories and Requests for Production of   Oct 15, 2021
 Documents on BAE.
 BAE & Fluor identified Party e-mail custodians                Oct 18, 2021
 BAE & Fluor identified noncustodial records location          Oct 19, 2021
 Fluor provided BAE with a proposed Protective Order           Oct 19, 2021
 Fluor provided BAE with proposed search terms for doc         Oct 22, 2021
 production
 Fluor served notice of intent and subpoena to Lauren          Nov 9, 2021
 Fluor contacted BAE requesting BOWAS contact                  Nov 9, 2021
 Fluor contacted BOWAS requesting contact info                 Nov 12, 2021
 BAE objects to Fluor Discovery and fails to Answer            Nov 15, 2021




                                                                               EXHIBIT
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